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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS


ANDREW CORZO, SIA HENRY, ALEXANDER
LEO-GUERRA, MICHAEL MAERLENDER,
BRANDON PIYEVSKY, BENJAMIN
SHUMATE, BRITTANY TATIANA WEAVER,
and CAMERON WILLIAMS, individually and on
behalf of all others similarly situated,

                  Plaintiffs,
      v.

BROWN UNIVERSITY, CALIFORNIA                Case No.: 1:22-cv-00125
INSTITUTE OF TECHNOLOGY, UNIVERSITY
OF CHICAGO, THE TRUSTEES OF
COLUMBIA UNIVERSITY IN THE CITY OF          Hon. Matthew F. Kennelly
NEW YORK, CORNELL UNIVERSITY,
TRUSTEES OF DARTMOUTH COLLEGE,
DUKE UNIVERSITY, EMORY UNIVERSITY,
GEORGETOWN UNIVERSITY, THE JOHNS
HOPKINS UNIVERSITY, MASSACHUSETTS
INSTITUTE OF TECHNOLOGY,
NORTHWESTERN UNIVERSITY,
UNIVERSITY OF NOTRE DAME DU LAC,
THE TRUSTEES OF THE UNIVERSITY OF
PENNSYLVANIA, WILLIAM MARSH RICE
UNIVERSITY, VANDERBILT UNIVERSITY,
and YALE UNIVERSITY,

                  Defendants.


                      PLAINTIFFS’ MOTION FOR
  PRELIMINARY APPROVAL OF SETTLEMENTS WITH DEFENDANTS BROWN
  UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY IN THE CITY OF
NEW YORK, DUKE UNIVERSITY, EMORY UNIVERSITY, AND YALE UNIVERSITY,
   PROVISIONAL CERTIFICATION OF THE PROPOSED SETTLEMENT CLASS,
 APPROVAL OF THE NOTICE PLAN, AND APPROVAL OF THE SCHEDULE FOR
               COMPLETING THE SETTLEMENT PROCESS
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       Plaintiffs Andrew Corzo, Sia Henry, Alexander Leo-Guerra, Michael Maerlender,

Brandon Piyevsky, Benjamin Shumate, Brittany Tatiana Weaver, and Cameron Williams

(collectively, “Plaintiffs”), on behalf of themselves and a proposed Settlement Class, hereby

move for an order pursuant to Fed. R. Civ. P. 23:

       1.      Granting preliminary approval under Fed. R. Civ. P. 23(c)(2) and 23(e) of

settlements between Plaintiffs and the proposed Settlement Class (defined below) with the

following five Defendants: (i) Brown University (“Brown”); (ii) The Trustees of Columbia

University in the City of New York (“Columbia”); (iii) Duke University (“Duke”); (iv) Emory

University (“Emory”); and (v) Yale University (“Yale”). These five settling defendants are

collectively referred to as the “Second Tranche Settling Universities” or “Second Tranche

Settling Defendants;” these settlements are collectively referred to as the “Second Tranche

Settlements;” and the executed settlement agreements for the Second Tranche Settling

Defendants are collectively referred to as the “Settlement Agreements” (which are attached at

Exhibits 1-5 to the January 23, 2024 joint declaration filed by Settlement Class Counsel in

support of this motion (referred to as the “Jan. 23, 2024 Joint Decl.”)).

       2.      Granting Plaintiffs’ request to combine the approval process for the University of

Chicago Settlement, which the Court preliminarily approved on September 9, 2023, with all five

of the Second Tranche Settlements (collectively, the “Settlements” and “Settling Defendants” or

“Settling Universities”).

       3.      Finding that the Court will likely determine that the requirements of Federal Rules

of Civil Procedure 23(a) and 23(b)(3) will be satisfied for settlement and judgment purposes

only, and thus provisionally certifying the Settlement Class as defined in the Settlement

Agreements.



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       4.      Conforming the class definition applicable to the University of Chicago

Settlement Agreement to the class definitions applicable to the Second Tranche Settlements.

       5.      Appointing Andrew Corzo, Sia Henry, Alexander Leo-Guerra, Michael

Maerlender, Brandon Piyevsky, Benjamin Shumate, Brittany Tatiana Weaver, and Cameron

Williams as representatives of the Settlement Class (“Class Representatives”).

       6.      Appointing Freedman Normand Friedland LLP, Gilbert Litigators & Counselors

PC, and Berger Montague PC as Settlement Class Counsel under Fed R. Civ. P. 23(g).

       7.      Approving the revised notice plan articulated in the declaration of Steven

Weisbrot (attached hereto) and authorizing dissemination of notice to the Settlement Class. See

Declaration of Steven Weisbrot, Esq. of Angeion Group LLC re the Proposed Revised Notice

Plan, Jan. 22, 2024 (the “Jan. 22, 2024 Weisbrot Decl.”); Revised Summary Notice, Ex. A to

Jan. 22, 2024 Weisbrot Decl.; Revised Long-Form Notice, Ex. B to Jan. 22, 2024 Weisbrot Decl.

       8.      Preliminarily approving the January 23, 2024 Revised Plan of Allocation for

Settlements with University of Chicago and the Five Additional Settling Defendants, attached as

Exhibit 7 to the Jan. 23, 2024 Joint Decl.

       9.      Pursuant to 34 C.F.R. § 99.37(a), finding that mailing addresses and email

addresses in education records of current students of a Defendant constitute “directory

information” and may be disclosed, without consent, to the Settlement Claims Administrator for

purposes of providing class notice in this litigation if (a) the Defendant has previously provided

public notice that the mailing addresses and email addresses are considered “directory

information” that may be disclosed to third parties including public notice of how students may

restrict the disclosure of such information, and (b) the student has not exercised a right to block

disclosure of current mailing addresses or email addresses (“FERPA Block”). Defendants shall



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not disclose from education records mailing addresses or email addresses subject to a FERPA

Block.

         10.   Pursuant to 34 C.F.R. § 99.37(b), finding that mailing addresses and email

addresses in education records of former students of a Defendant constitute “directory

information” and may be disclosed, without consent, to the Settlement Claims Administrator for

purposes of providing class notice in this litigation, provided that each Defendant continues to

honor any valid and un-rescinded FERPA Block.

         11.   Appointing Angeion Group (“Angeion”) as Settlement Claims Administrator.

(The Court previously appointed Angeion as the Settlement Claims Administrator for the

preliminarily approved settlement with the University of Chicago, see ECF No. 428, at ¶ 8.)

         12.   Appointing The Huntington National Bank (“Huntington Bank”) as Escrow

Agent. (The Court previously appointed Huntington Bank as the Escrow Agent for the

preliminarily approved settlement with the University of Chicago, see ECF No. 428, at ¶ 9.)

         13.   Approving the Custodian/Escrow Agreement for Second Tranche Settlements,

dated Jan. 23, 2024 (the “Jan. 23, 2024 Escrow Agreement”), attached at Exhibit 6 to Jan. 23,

2024 Joint Decl., as governing the Second Tranche Settlements.

         14.   Approving the establishment of the Settlement Fund under the Settlement

Agreements as a qualified settlement fund (“QSF”) pursuant to Internal Revenue Code Section

468B and the Treasury Regulations promulgated thereunder.

         15.   Staying of all litigation activity against the Settling Defendants on behalf of the

Settlement Class pending final approval or termination of the Settlements.

         16.   Approving the proposed schedule for the Settlements, including setting a date for

a final Fairness Hearing. As explained in Plaintiffs’ supporting memorandum of law, the



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schedule has been revised to incorporate the settlement with the University of Chicago with all

five of the Second Tranche Settlements on the same schedule for efficiency purposes and to

avoid Class member confusion.

       WHEREFORE, for the reasons set forth in the accompanying memorandum of law,

supporting joint declaration of Settlement Class Counsel, the declaration of the proposed

Settlement Claims Administrator, and all exhibits filed in support of this Motion, Plaintiffs

respectfully request that the Court grant this motion and enter the Preliminary Approval Order

filed herewith. The Settling Defendants do not oppose this motion.



 Dated: January 23, 2024                                   Respectfully Submitted,

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